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(212) 373-3035

(212) 492-0035

rtarlowe@paulweiss.com




 MEMO ENDORSED
           May 18, 2020




           BY EMAIL/ECF
           The Honorable Katherine Polk Failla
           United States District Judge
           Southern District of New York
           40 Foley Square
           New York, NY 10007
                                  United States v. Anilesh Ahuja, 18 Cr. 328 (KPF)
           Dear Judge Failla:

                          We write to provide another update to the Court on the status of the
           remaining restitution claims. Mr. Ahuja’s counsel is continuing to engage in dialogue with
           the remaining investors who have filed restitution claims, and has made substantial
           progress during the past two weeks. The government has indicated that it has no objection
           to the Court deferring its restitution determination an additional two weeks to June 3, 2020,
           to allow Mr. Ahuja to continue working to resolve the remaining claims.

                                                   Respectfully submitted,



                                                   Richard C. Tarlowe
                                                   Roberto Finzi
           cc:     Counsel of Record                 SO ORDERED.

Application GRANTED.


Dated: May 18, 2020                                  HON. KATHERINE POLK FAILLA
       New York, New York                            UNITED STATES DISTRICT JUDGE
